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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
v.                                  )                1:21-cr-38
                                    )
BARNETT                             )
____________________________________)


DEFENDANT’S MOTION FOR PERMISSION TO ARRANGE A DATE PRIOR TO HIS
         SURRENDER DATE TO REMOVE HIS ANKLE MONITOR


       Defendant Ricahrd Barnett, by and through his attorney, hereby submits this motion

requesting the Court to grant permission to the United States Probation Officer to remove the

Defendant’s ankle bracelet prior to his surrender date on August 1, 2023, and hereby states as

follows:

   1. Defendant has been wearing an ankle monitor as part of his conditions of release for over

       two years.

   2. Defendant was ordered to self-surrender to the United States Bureau of Prisons on

       August 1, 2023.

   3. The United States Probation Officer of the Western District of Arkansas assigned to the

       Defendant during his release requested from her counterpart in the District of Columbia

       that a time be scheduled prior to the self-surrender to remove the ankle monitor.

   4. The United States Probation Officer’s request was consistent with the regular practice in

       the Western District of Arkansas.

   5. The United States Probation Officer made the request because the Probation Office is

       responsible for the cost of the ankle monitor if it is not removed.


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   6. Based on prior experience, the best way to ensure that the United States Probation Office

       does not incur the cost of the ankle monitor is to arrange for the monitor to be removed

       before Defendant’s self-surrender.

   7. In the past two years, the Defendant has no violations of his conditions of release.

   8. Given the Defendant’s history of compliance and that his self-surrender date is just 12

       days from the filing of this motion, the Probation Officer does not have concerns that the

       removal of the ankle monitor prior to the self-surrender date will have any impact on the

       Defendant’s compliance with his scheduled self-surrender.

   9. The United States Probation Officer’s request was denied, but she was advised that her

       request may be granted if the Defendant files a motion with the Court for the same.

   10. Undersigned counsel spoke to the Probation Officer for the Western District of Arkansas,

       and she supports this motion.

   11. Accordingly, Defendant requests that the court grant permission for the Defendant to

       schedule a date between July 21 and July 31 to remove his ankle monitor.



                                        CONCLUSION

       WHEREFORE the Defendant, RICHARD BARNETT, prays this Court will grant the

relief sought herein, and allow the Probation Office of the United States to schedule a date

between July 21 and July 31 to remove Defendant’s ankle monitor.



                       [SIGNATURE ON THE FOLLOWING PAGE]




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DATED: July 20, 2023

                                                     Respectfully submitted,

                                                     /s/ Jonathan Gross
                                                     Jonathan Gross
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                                CERTIFICATE OF SERVICE

I hereby certify on this 20th day of July 2023, a copy of the foregoing was served upon all parties

                 as forwarded through the Electronic Case Filing (ECF) System.


                                        /s/ Jonathan Gross

                                         Jonathan Gross




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